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1                                        UNITED STATES DISTRICT COURT

2                                            DISTRICT OF NEVADA

3                                                        ***
      MICHELE LEUTHAUSER,
4
                            Plaintiff,
5                                                           2:20-cv-00479-JCM-VCF
      vs.                                                   ORDER
6     UNITED STATES OF AMERICA, and ANITA
      SERRANO,
7
                            Defendants.
8
            Before the Court is the Motion to Extend Time to File Motion to Compel (ECF NO. 40).
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            Accordingly,
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            IT IS HEREBY ORDERED that the Motion to Extend Time to File Motion to Compel (ECF NO.
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     40) is GRANTED, and the deadline to the Motion to Compel is extended to January 25, 2021.
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            Plaintiff’s counsel is advised that all future filings in their case will be stricken if they do not
13
     comply with this Court’s local rules. Plaintiff’s counsel is directed to read LR IA 7-1(b), LR 7-2, LR IA
14
     6-1, 6-2, 10-1 and 10-2.
15
            IT IS FURTHER ORDERED that local counsel appearing for Plaintiff in this case must review
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     and approve all papers before they are filed on Plaintiff’s behalf.
17
            DATED this 12th day of January, 2021.
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19                                                                 CAM FERENBACH
                                                                   UNITED STATES MAGISTRATE JUDGE
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